           Case 4:22-cv-06947-HSG Document 15 Filed 01/17/23 Page 1 of 4



 1 EPSTEIN DRANGEL LLP
   Peter J. Farnese (SBN 251204)
 2 pfarnese@ipcounselors.com
   11601 Wilshire Blvd., Suite 500
   Los Angeles, California 90025
 3 Telephone: 310-356-4668
   Facsimile: 310-388-1232
 4
   Jason M. Drangel
 5 jdrangel@ipcounselors.com
   Ashly E. Sands
 6 asands@ipcounselors.com
   Kerry B. Brownlee
 7 kbrownlee@ipcounselors.com
   60 East 42nd Street, Suite 1250
 8 New York, NY 10165
   Telephone: 212-292-5390
   Facsimile: 212-292-5391
 9 Pro Hac Vice Applications Forthcoming

10 Attorneys for Plaintiff
   HDMI Licensing Administrator, Inc.
11

12
                              UNITED STATES DISTRICT COURT
13                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
14 HDMI LICENSING ADMINISTRATOR, INC.,         CASE NO.: 4:22-cv-06947-HSG
15                                             STIPULATED REQUEST AND
                     Plaintiff,
16                                             ORDER TO RESCHEDULE CASE
          v.                                   MANAGEMENT CONFERENCE AND
17                                             EXTEND DEADLINES PURSUANT
     AVAILINK INC.                             TO LOCAL RULE 6-2 (as modified)
18
                     Defendant.                Complaint Filed: November 7, 2022
19
20

21

22

23

24

25

26
27

28


     STIPULATED REQUEST TO RESCHEDULE AND EXTEND DEADLINES [N.D. CAL. L.R. 6-2]
            Case 4:22-cv-06947-HSG Document 15 Filed 01/17/23 Page 2 of 4



 1          Pursuant to Civil Local Rule 6-2, Plaintiff HDMI Licensing Administrator, Inc. (“Plaintiff” or

 2 “HDMI LA”), through its counsel of record, and Defendant Availink Inc. (“Defendant” or “Availink”)

 3 (collectively, the “Parties”), stipulate as follows:

 4          WHEREAS, Plaintiff’s Complaint was filed on November 7, 2022;

 5          WHEREAS, Defendant has agreed to waive formal service of the Summons and Complaint;

 6          WHEREAS, pursuant to the executed Waiver of Service of Summons, Defendant, which is

 7 located outside of the United States, has ninety (90) days from the service of Plaintiff’s waiver request

 8 on January 12, 2023 to file an answer or motion pursuant to Fed. R. Civ. P. 12 (i.e., up to and including

 9 April 12, 2023);

10          WHEREAS, pursuant to the Clerk’s Notice Setting Case Management Conference for

11 Reassigned Civil Case (Docket Entry No. 11), a Case Management Conference is set for February 14,

12 2023, with a Case Management Statement due by February 7, 2023;

13          WHEREAS, the Parties are discussing whether or not this dispute can be resolved among them,

14 without further court involvement;

15          WHEREAS, Defendant has not entered an appearance, has not yet retained local counsel, and

16 needs further time in order to do;

17          WHEREAS, in order to promote efficiency and conserve the time and resources of the Parties,

18 and this Court, and permit the Parties further time to confer about their claims and defenses, the Parties

19 believe that just cause exists to postpone the Case Management Conference, and all deadlines flowing
20 therefrom, including the deadline for the Case Management Statement and the Stipulation and

21 Proposed Order form pertaining to Alternative Dispute Resolution, until after the deadline for

22 Defendant’s response to the Complaint;

23          WHEREAS, neither of the Parties nor the Court will be prejudiced by the rescheduling of the

24 Case Management Conference, and dates flowing therefrom;

25          WHEREAS, the Parties have not made any previous requests for an adjournment, any

26 extension of time, or other time modification; and
27          WHEREAS, the proposed rescheduling of the Case Management Conference will not alter the

28 date of any event or other outstanding deadline other than those associated with, or flowing from, the

                                      -1-
     STIPULATED REQUEST TO RESCHEDULE AND EXTEND DEADLINES [N.D. CAL. L.R. 6-2]
            Case 4:22-cv-06947-HSG Document 15 Filed 01/17/23 Page 3 of 4



 1 Case Management Conference, because a scheduling order has not yet been entered, and no other dates

 2 are currently fixed by the Court.

 3         NOW, THEREFORE, IN CONSIDERATION OF THE FOREGOING, IT IS HEREBY

 4 STIPULATED by and between the Parties, pursuant to Local Rule 6-2 that the Case Management

 5 Conference shall be adjourned to Tuesday, April 25, 2023 at 2 PM, or as soon thereafter as the Court’s

 6 calendar will permit, and all deadlines associated with or flowing from the Case Management

 7 Conference, including the submission of the Case Management Statement Stipulation and Proposed

 8 Order form pertaining to Alternative Dispute Resolution seven calendar days before the Case

 9 Management Conference, shall be adjusted accordingly.

10

11 DATED: January 13, 2023                     EPSTEIN DRANGEL LLP
                                               By:  s/ Peter J. Farnese
12                                                  Peter J. Farnese
13                                             Jason M. Drangel
                                               jdrangel@ipcounselors.com
14                                             Ashly E. Sands
                                               asands@ipcounselors.com
15                                             Kerry B. Brownlee
                                               kbrownlee@ipcounselors.com
16                                             60 East 42nd Street, Suite 2520
                                               New York, NY 10165
17                                             Telephone: 212-292-5390
                                               Facsimile: 212-292-5391
18                                             Pro Hac Vice Applications Forthcoming

19                                             Attorneys for Plaintiff
                                               HDMI Licensing Administrator, Inc.
20

21

22

23

24

25

26
27

28

                                      -2-
     STIPULATED REQUEST TO RESCHEDULE AND EXTEND DEADLINES [N.D. CAL. L.R. 6-2]
           Case 4:22-cv-06947-HSG Document 15 Filed 01/17/23 Page 4 of 4



 1                                              ORDER

 2         Having read and considered the Stipulated Request to Reschedule Case Management

 3 Conference and Extend Deadlines Pursuant to Local Rule 6-2 (“Stipulated Request”), and for good

 4 cause shown, the Stipulated Request is approved. The Court orders that the schedule is amended as

 5 follows:

 6            1. The Telephonic Case Management Conference shall be adjourned to Tuesday, April

 7               25, 2023 at 2 PM; and

 8            2. All deadlines associated with or flowing from the Case Management Conference,

 9               including the submission of the Case Management Statement Stipulation and Proposed

10               Order form pertaining to Alternative Dispute Resolution seven calendar days before the

11               Case Management Conference, shall be adjusted accordingly.

12

13 IT IS SO ORDERED.

14
     Date: 1/17/2023
15                                            Honorable Judge Haywood S. Gilliam, Jr.
                                              United States District Judge
16

17

18

19
20

21

22

23

24

25

26
27

28

                                      -3-
     STIPULATED REQUEST TO RESCHEDULE AND EXTEND DEADLINES [N.D. CAL. L.R. 6-2]
